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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF MISSISSIPPI
                                ABERDEEN DIVISION


PECO FOODS, INC.                                                                        PLAINTIFF

V.                                                 CIVIL ACTION NO. 1:20-CV-99-NBB-DAS

MAINE PAPER &
FOOD SERVICE-MARYLAND, INC.                                                           DEFENDANT


                                    ORDER STAYING CASE

       The court, being advised that the defendant has filed for bankruptcy, finds that inasmuch

has this action is subject to the automatic stay, this action is hereby stayed, pending further order

of the court. The plaintiff shall file a brief notice every ninety days advising this court of the

status of the bankruptcy action.

       SO ORDERED this the 15th day of July, 2020.




                                               /s/ David A. Sanders
                                               U.S. MAGISTRATE JUDGE
